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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                    )                 Chapter 11
                                          )
LVI INTERMEDIATE HOLDINGS, INC. et al., )                   Case No. 20-11413 (KBO)
                                          )                 (Jointly Administered)
                  Debtors.                )
__________________________________________)

             NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF
                          NOTICES AND DOCUMENTS

         PLEASE TAKE NOTICE that, the Official Committee of Unsecured Creditors

(“Committee”) in the above-captioned cases, hereby appears by its proposed counsel, Morrison

& Foerster LLP and Morris James LLP, pursuant to 11 U.S.C. Section 1109(b) of Title 11 of the

United States Code (the “Bankruptcy Code”), Rules 2002 and 9010(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Delaware Bankruptcy Local Rule 2002-1

and hereby requests that copies of all notices and pleadings given or filed in the above-captioned

cases be given and served upon the persons listed below at the following addresses, telephone

and facsimile numbers, and email addresses:

Eric J. Monzo, Esquire                            Todd M. Goren, Esquire
Brya M. Keilson, Esquire                          Mark A. Lightner, Esquire
Morris James LLP                                  Andrew Kissner, Esquire
500 Delaware Avenue, Suite 1500                   Morrison & Foerster LLP
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                                                  E-mail: mlightner@mofo.com
                                                  E-mail: akissner@mofo.com

         PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109(b) of the

Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in

the Bankruptcy Rules specified above, but also includes, without limitation, any notice,
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application, complaint, demand, motion, petition, pleading or request, whether formal or

informal, written or oral, and whether transmitted or conveyed by mail, hand delivery, e-mail,

telephone, telecopy or otherwise filed or made with regard to the above-referenced cases and

proceedings herein.

       PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance, nor any

former or later appearance, pleading, claim or suit shall constitute a consent to jurisdiction, nor

shall it waive the rights of the Committee: (1) to have final orders in non-core and core matters in

which the Bankruptcy Court does not have final adjudicatory authority entered only after de novo

review by a District Court Judge, (2) to trial by jury in any proceeding so triable in this case or

any case, controversy, or proceeding related to this case, (3) to have the District Court withdraw

the reference in any matter subject to mandatory or discretionary withdrawal, or (4) any other

rights, claims, actions, defenses, including defenses to jurisdiction, setoffs, or recoupments to

which the Committee may be entitled under agreements, in law or in equity, all of which rights,

claims, actions, defenses, setoffs, and recoupments the Committee expressly reserves.




                                    [Signature Page Follows]




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Dated: June 18, 2020               MORRIS JAMES LLP

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                                   Proposed Counsel to the Official Committee of
                                   Unsecured Creditors




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